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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE

 MICHAEL PETERS, Individually and on             )
 Behalf of All Others Similarly Situated,        )
                                                 )
                         Plaintiff,              )
                                                 )     Case No. 4:19-cv-00114-CDL
         v.                                      )
                                                 )
 TOTAL SYSTEM SERVICES, INC., M.                 )
 TROY WOODS, KRISS CLONINGER III,                )
 DR. SIDNEY E. HARRIS, RICHARD W.                )
 USSERY, PHILIP W. TOMLINSON,                    )
 MASON H. LAMPTON, JOHN T.                       )
 TURNER, WILLIAM M. ISAAC,                       )
 RICHARD A. SMITH, CONNIE D.                     )
 MCDANIEL, WALTER W. DRIVER JR.,                 )
 F. THADDEUS ARROYO, and JOIA M.                 )
 JOHNSON,                                        )
                                                 )
                         Defendants.             )



                   PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL

        PLEASE TAKE NOTICE that, pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i),

plaintiff Michael Peters (“Plaintiff”) hereby voluntarily dismisses the above-captioned action (the

“Action”) with prejudice as to Plaintiff only and without prejudice as to all others similarly

situated. Defendants have filed neither an answer nor a motion for summary judgment in the

Action, and no class has been certified. Plaintiff’s dismissal of the Action is therefore effective

upon the filing of this notice.

Dated: August 22, 2019

                                                     Respectfully submitted,

                                                      /s/ James M. Wilson, Jr.
                                                     James M. Wilson, Jr.
                                                     Ga. Bar No. 768445
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                                 Counsel for Plaintiff




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